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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )
                                                     )              Case No. 1:20-CR-06-01-PB
CHRISTOPHER C. CANTWELL                              )
     Defendant.                                      )

               GOVERNMENT’S SECOND AMENDED PROPOSED WITNESS LIST

       The United States of America, by Scott W. Murray, United States Attorney for the

District of New Hampshire and Assistant U. S. Attorneys John Davis and Anna Krasinski,

hereby offers the following second amended list of potential witnesses that may be called at trial:


         1. FBI SA Karl Acker

         2. Chris Beckstrom, FBI Computer Analyst

         3. Sgt. Joel Chidester

         4. Cameron Davis, FBI Computer Analyst

         5.

         6. Brett Fernald

         7.

         8. FBI SA Michael Gibeley

         9. Casey Gilmore

         10. James Klingenberg

         11. TFO Kevin Lablanc

         12.

         13.

         14. Sandy Miller Bower

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        15. Nick Nathans, FBI Computer Analyst

        16. Paul Nehlen

        17. Keri Peters, FBI Analyst

        18. Sara E. Smith

        19. Khahilah Tennell

        20. FBI SA Shayne Tongbua


      The government reserves the right to seek leave to amend its witness list as necessary.

                                                   Respectfully submitted,


                                                   UNITED STATES OF AMERICA, by
                                                   SCOTT W. MURRAY
                                                   United States Attorney


Date: September 14, 2020                   By:      /s/ Anna Krasinski
                                                   John S. Davis (NH No. 592)
                                                   Anna Krasinski (WV No. 12762)
                                                   Assistant U.S. Attorneys
                                                   District of New Hampshire

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